           Case 1:21-cv-07006-JSR Document 4 Filed 09/21/21 Page 1 of 1


                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

IRWIN MORSE,                                    )
                                                )
                     Plaintiff,                 )
                                                )   Case No. 1:21-cv-07006-JSR
      v.                                        )
                                                )
THE NEW HOME COMPANY INC., H.                   )
LAWRENCE WEBB, WAYNE J.                         )
STELMAR, DOUGLAS C. NEFF,                       )
MICHAEL J. BERCHTOLD, SAM                       )
BAKHSHANDEHPOUR, GREGORY P.                     )
LINDSTROM, CATHEY S. LOWE, PAUL                 )
C. HEESCHEN, NEWPORT HOLDINGS,                  )
LLC, and NEWPORT MERGER SUB,                    )
INC.,                                           )
                                                )
                     Defendants.                )

                 PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff hereby voluntarily dismisses the above-captioned action (the “Action”). Defendants have

filed neither an answer nor a motion for summary judgment in the Action.

 Dated: September 21, 2021                       RIGRODSKY LAW, P.A.

                                           By: /s/ Gina M. Serra
                                               Seth D. Rigrodsky
                                               Timothy J. MacFall
                                               Gina M. Serra
                                               Vincent A. Licata
                                               825 East Gate Boulevard, Suite 300
                                               Garden City, NY 11530
                                               Telephone: (516) 683-3516
                                               Email: sdr@rl-legal.com
                                               Email: tjm@rl-legal.com
                                               Email: gms@rl-legal.com
                                               Email: vl@rl-legal.com

                                                 Attorneys for Plaintiff
